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                                                                     April 11, 2025
Honorable Michael E. Farbiarz, United States District Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101
        Re:    Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        We write to respectfully request that members of the press and public be granted access to
this afternoon’s telephone conference. As the Court is aware, there is tremendous interest in this
case. For example, over 500 people requested to view or listen to Mr. Khalil’s April 8, 2025
immigration court hearing.
       We are mindful that the usual process for requesting permission to remotely attend a
hearing is to email the ECF helpdesk at ecfhelp@njd.uscourts.gov. However, to spare the helpdesk
the onerous duty of responding individually to the anticipated volume of requests, and to facilitate
the greatest degree of access and transparency, we ask that your honor consider publishing the
conference call-in line on the docket.
                                                     Respectfully submitted,
                                                     ____/s/ Jeanne LoCicero________
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